                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                     )       File No 5:10CR56-RLV-DSC
                                             )
               V.                            )       ORDER TO UNSEAL
                                             )       BILL OF INDICTMENT
ADAM KEITH JONES, et. al.,                   )
                                             )

       UPON MOTION of the United States of America, by and through Anne M. Tompkins,

United States Attorney for the Western District of North Carolina, for an order directing that the

Bill of Indictment be unsealed,

       IT IS HEREBY ORDERED that the Bill of Indictment be unsealed.

       SO ORDERED.                               Signed: January 20, 2011




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